Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 1 of 55

Daniel Loras Glynn, ISB No. 5113

Jones § Gledl‘n`ll 0 Fuhrman 4 Gourley P.A.
225 N. 9"‘ street suite 320

P.O. Box 1097

Boise, ID 83701

Telephone (208)331-1 170

Facsimile (208)331-1529

Email: dglygg@idalaw.com
Attorney for the Plaintiff

UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO
BOISE COUNTY, a political subdivision of the
State of Idaho, Case No.
Plaintif’t`, VER.IFIED PETITION FOR
DECLARATORY RELIEF

VS.

GARY YARDLEY, WILLIAM R.EKOW, PAUL

REKOW, ROBERT MCDONALD, TOM

CEROVSKI, and VERLA ANN HAMES
Defendants.

 

 

Plaintiff Boise County, by and through its attorneys of record, Iones 0 Gledhill 0
Fuhrman § Gourley, P.A., for its Petition for Declaratory Judgment as against the Defendants
Gary Yardley, William Rekow, Paul Rekow, Robert McDonald, Tom Cerovski, and Verla Ann
Hames, complains and alleges as follows:

PARTIES
l. Plaintiff, Boise County, is a local political subdivision of state of Idaho.
2. Defendant Gary Yardley was, and is, at all relevant times employed by Boise

County as a Transfer Site Attendant II for the Solid Waste Departrnent of Boise County.

PETITION FOR DECLARATORY RELIEF - 1

Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 2 of 55

Defendant Yardley was, and is, responsible for the performance of various job functions
necessary for the operation of the Boise County Solid Waste Transfer Sites, including, but not
limited to, manual labor, maintaining a sanitary collection site, security of site, buildings and
gates, maintain waste logs and receipt books.

3. William Rekow was, and is, at all relevant times employed by Boise County as a
Transfer Site Operator for the Solid Waste Department of Boise County. Defendant W. Rekow
was, and is, responsible for the performance of various job functions necessary for the operation
of the Boise County Solid Waste Transfer Sites, including, but not limited to, equipment
operation and manual labor in maintaining a sanitary transfer site, security of site, buildings and
gates, maintain waste logs and receipt books.

4. Paul Rekow Was, and is, at all relevant times employed by Boise County as a
Transfer Site Operator for the Solid Waste Department of Boise County. Defendant P. Rekow
was, and is, responsible for the performance of various job hanctions necessary for the operation
of the Boise County Solid Waste Transfer Sites, including, but not limited to, supervision of the
operation and maintenance of transfer site equipment, assistance with the implementation of all
aspects of the Boise County Solid Waste Program.

5. Robert McDonald was, and is, at all relevant times employed by Boise County as
a Transfer Site Attendant II for the Solid Waste Department of Boise County. Defendant
McDonald was, and is, responsible for the performance of various job functions necessary for the
operation of the Boise County Solid Waste Transfer Sites, including, but not limited to, manual
labor, maintaining a sanitary collection site, security of site, buildings and gates, maintain waste

logs and receipt books.

PETITION FOR DECLARATORY RELIEF - 2

Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 3 of 55

6. Tom Cerovski was, and is, at all relevant times employed by Boise County as a
Transfer Site Attendant II for the Solid Waste Departrnent of Boise County. Defendant Cerovski
was, and is, responsible for the performance of various job functions necessary for the operation
of the Boise County Solid Waste Transfer Sites, including, but not limited to, manual labor,
maintaining a sanitary collection site, security of site, buildings and gates, maintain waste logs
and receipt books.

7. Ver'la Ann l-Iames was, and is, at all relevant times employed by Boise County as
a Transfer Site Attendant I for the Solid Waste Department of Boise County. Defendant Hames
was, and is, responsible for the performance of various job tilnctions necessary for the operation
of the Boise County Solid Waste Transfer Sites, including, but not limited to manual labor,
maintaining a sanitary collection site, security of site, buildings and gates, maintain waste logs
and receipt books.

VENUE AND JURISDICTION

8. This Court has subject matter jurisdiction over the matter pursuant to 28 U.S.C. §
1331 as Boise County by this action, seeks a Declaratory Judgment pursuant to 28 U.S.C. § 2201
that its proposed resolution of claims with the Defendants under the Fair Labor Standards Act of
1938 (hereinafter referred to as “FLSA”), as amended, 29 U.S.C. § 201 et seq. is fair and
reasonable

9. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

GENERAL ALLEGATIONS
lO. Defendants are, or were, at all relevant times employees for the Boise County

Solid Waste Department (Chapter 44, Title 31 of Idaho Code) and the Boise County Noxious

PETITION FOR DECLARATORY RELIEF - 3

Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 4 of 55

Weeds Department (Chapter 24, Title 22 of Idaho Code), which are combined and operated as
one joint department by Boise County (hereinatler referred to as “the Department”).

ll. Upon the receipt of an inquiry from an employee, Boise County discovered that
each Defendant in the course and scope of his or her job duties was required at various times and
dates at the conclusion of their regularly scheduled shift to take, maintain and secure the cash
box and receipt book from the Solid Waste Transfer Site in their personal possession until the
next day’s work shit`t. Boise County’s audit discovered that Defendants were not compensated
for the time spent traveling from the Solid Waste Transfer Site to their place of residence while
in possession of the cash box and receipt book and then back to their place of work for the next
work day.

12. Upon this discovery, Boise County conducted a further audit of these activities by
each Defendant and made a good faith determination as to the uncompensated time as to each
employee.

13. Based upon the foregoing, Boise County has identified the amount of unpaid
wages and an additional equal amount as liquidated damages owed to each consistent with the
provisions of 29 U.S.C. § 216(b).

14. Pursuant to 29 U.S.C. § 216(c), resolution, settlement, or compromise of back
wages and liquidated damages are only enforceable as between an employer and employee if
supervised by the Department of Labor or by means of a judgment by a court of competent
jurisdiction which has determined that resolution, settlement or compromise is a fair and
reasonable resolution of the matter.

15. On or about February 28, 2018, Boise County advised each Defendant in writing of

PETITION FOR DECLAR.ATORY RELIEF - 4

Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 5 of 55

the discovery of services performed by Defendants for which Defendants were not compensated by
Boise County, of Boise County’s calculation of those uncompensated hours, and the amount Boise
County determined should be paid to each Defendant, to include an amount of liquidated damages
as calculated in accordance with 29 U.S.C. § 216. Boise County requested that each Defendant
review these hours and calculations and advise Boise County of any errors in the calculation of
hours, or amounts owed, by March 16, 2018. A true and correct copy of these correspondences are
attached as Exhibits “A”, “B”, “C", “D”, “E”, and “F.”

16. None of the Defendants advised the County of any errors in the County’s calculation
of hours or amounts owed.

COUNT ONE
REQUEST FOR DECLARATORY RELIEF

17. Boise County realleges, and hereby incorporates by reference, all the foregoing
allegations as if fully stated herein.

18. There now exists an actual, justiciable controversy between Boise County and the
Defendants with regard to Boise County’s payment of acknowledged unpaid wages and
liquidated damages due to Defendants

19. Boise County seeks a judicial Declaration, pursuant to 28 U.S.C. § 2201 that,
consistent with 29 U.S.C. § 216(0), the proposed payments by Boise County to each Defendant
as identified in Exhibits “A-F” is a fair and reasonable resolution of the unpaid wages and
liquidated amounts for the activities described herein.

WHEREFORE, Boise County requests this Court enter a Judgrnent finding that the

payment of the amounts as identitied in Exhibits “A-F" to each Defendant is a fair and

PETITION FOR DECLARATORY RELIEF - 5

Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 6 of 55

reasonable resolution of the unpaid wages and liquidated damages by Boise County to each
Defendant. at
t
DATED This "l' day cowen 2018.

JONES § GLEDHILLO FUHR.MAN 0 GOURLEY, P.A.

hd_/\)--A\_-\$

DANIEL LoRAs GIF¢"NNL
Attomey for Plaintitf

PETITION FOR DECLARATORY RELIEF - 6

Case 1:18-cV-00152-BLW Document 1 Filed 04/04/18 Page 7 of 55

 

VERIFIC¢IIQE
sTA'ra or= \OnH-e )
) ss.
County of land )
K!QQ`\ /-\ l ill z p , being iirst duly swom, deposes and says:
so\‘~r.) qus\-r_.

That A§_he is the _ngm|_w,ofBoise County, the Plaintiff herein; that
5 he has read the foregoing instrument, knows the contents thereof to be true and correct to

the best rafth knowledge
laid M% .

 

suescruBED AND swoaN m before me this `b day of AO r’l l

2018. "";““"Rno"'"m

ROS?' "¢»

9

 

§§ lllb

§`°
§ :Q:ARY w LAJL ”\/'\»
§ Notary Public for: Lé_ggi_§%__
35 \ §§ Residing at: \~LC>Y%C% Q~E'.. q

PUB\-» My Cornrnission Expires: 7:>- l\»- } ‘
….ll....`

"l¢d::d l m 0?} ‘\\":""

PETITION FOR DECLAR.ATDRY RELIEF - 7

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 8 of 55

EXhibit A

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 9 of 55

BO|SE COUNTY
PROSECUT|NG ATTORNEY’S OFFICE

 

February 28, 2018

Gary Yardley
P.O. Box 22
Garden Va|ley, lD 83622

Dear Mr. Yard|ey:

|'m the Boise County Prosecutor, and |'rn writing to you on behalf of the Board of Boise County
Commissioners (“Board”) regarding your compensation for past service to the County.

The County has discovered that you were not being compensated for transporting money
between work and your personal residence from May 2014 to March 2016. The County has also
discovered that you were not paid mileage for driving your personal vehicle for this
transportation.

Upon review of the records contained in the attached Exhibits A and B, the County has
determined that you performed 8 hours of work while your hourly wage was $9.77, 7 hours of
work while your hourly was wage was $10.17, and 22 hours of work while your hourly wage
was $10.38. As such, the back wages owed to you total the amount of $377.71. Furthermore,
the mileage owed to you for driving during that period of time should come out to $557.28.

As a result, the County intends to pay you the amount of $377.71 for owed back wages, less the
applicable deductions and withholdings. |n addition, in accordance with the provisions of the
Fair Labor Standards Act, the County intends to pay you an additional amount equal to those
back wages, or in other words, another $377.71. The County will also pay you $557.28 as
mileage reimbursement Based on this, the County believes it would be paying you all
compensation owed for this uncompensated time. |n making this caiculatlon, the County
believes it has not diminished or compromised in any way the compensation owed to you.

The Fair Labor Standards Act requires the Federa| District Court in Boise to approve this
payment. The County has hired outside counse|, Danie| G|ynn of the firm Jones, G|edhi||,
Fuhrman, and Gour|ey P.A., to handle the Court portion for us. As such, you will be soon
receiving some court paperwork from Mr. G|ynn's firm listing you as a defendant in a civil case
in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

406 Momgomery Street, P.O. Bo)¢ 186, idaho City, lD 83631
Ph: 208-392-4485 | Fax: 208-392-3760

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 10 of 55

The Board appreciates your service to the residents of Boise County. |f you have any questions,
or if upon your review of Exhlbits A and B you believe that the dollar amount provided to you
incorrect, please notih¢ me by SQm on March 15l 2018.

Best,

T;a’re£i._

Dan B|ocksom

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 11 of 55

mann

._¢.E._.

mm.~. w
and w
Nm.N w
§§

mo.w w
Nm.o m

mm.o w

\.v.\._~ n
mv.m 9

wm.m w

_.h.`.hn ._¢.E.P wm
wm.mNN mn.cv w NN

m_..:. w w_‘.o_‘ 9 h

990

m_..mh m ww.m m m

_w=m__ ._E.E. m.==_ nunez

< ._._m=._Xm >m..._n_m_¢>

>£Em> >._mO
£§E_=wn=_==e names
mica

=_=83__§__

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 12 of 55

87.02
79 26
254 23
420.50

'l'll'l'l\l.

$
$
$
$

2::1[2

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 13 of 55

gov

3~3
3.~3
3.~3
333
333
333
333
333
333
333
333
333
333
333
333
3~3
3~3
3~3
3~3
3~3
3~3
3~3
3~3
3~3
3~3
3~3
323
3~3
3~3
3~3
3~3

>mn ._un_

33
33
33
33
333
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33

m"

:o_§:on.:ou umm>> x uE:.
5 .=..oE< _B£. ._E. u==$_

363
263
263
263
263
263
263
263
263
263
263
263
263
263
263
23
23
23
23
23
23
23
23
23
23
23
23
23
23
23
23
omm>>

md
md
md
md
md
m.o
md
md
md
md
md
md
md
md
md
md
md
m.o
md
md
md
md
md
md
md
m.o
md
m.o
m.o
md
md

m._:o_._ 35

mo¢:::>_

3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3
3

umu_.=__=>_ ____

UE=.U>?_D

._E

253 _B£

m ._._m=._Xm_ >wl_n_m<>

33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
wu Uam¢
x$=s_

33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
33
363
33
33
33
33

mm
mm
m._"
md
md
md
md
md
md
md
md
md
md
md
md
md
md
m._u
md
mm
md
m._u
md
mm
ma
on
md
on
md
md
md

..on nunc nt._. tc:o¢

md\m\o~
32\32\3
md\w\m
32\2\3
md\m~\m
32\»2\»
mH\HH\N
md\¢\w
md\w~\2
32\2~\2
md\¢2\2
322
32\63\@
md\m~\m
333
¢H\~\m
¢2\@~\3
¢H\m~\w
¢H\~H\m
¢H\m\m
¢2\3~\2
¢H\-\2
¢2\32\2
¢2\»\2
¢2\2\2
¢2\¢~\3
¢2\22\@
¢2\62\@
¢H\m`m
¢2\2~\3
¢2\6~\3
>oco$_
notoam.._m._.r
mu>o_nEm mann

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 14 of 55

m__.nw

33323
33323
m3m23
m3m23
mw.m23
33~23
33~23
33~23
33323
mm.-»
mm-m
mm323
mm.-m
33~23
mm.~dm
mm.-m
33~23
33~23
mm323
33~23
33~23
33~23
33~23
33~23
33~23
33~23
mn~23
33323
33323
mm323
mm323

>mn ._m._

32.33
32.33
32.33
m2.33
32.33
m2.33
32.33
32.33
32.33
md.mm
mH.mm
32.33
md.mm
md.mm
32.33
32.33
32.33
32.33
m~.mm
32.33
32.33
m2.33
m2.33
32.33
32.33
62.33
mm.mm
32.33
m2.33
32.33
m~.mm

mh

___o_§:og£ou omm>> x aFE.
8 E=oE< _Bo._. &=. _2=.2_

33623
33623
33623
33623
33623
33623
33623
33623
33623
wma~m
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
33623
mm=~m
33623
wmQHm
33623
33623
mum>>

md
md
md
m.o
....:c
m.o
md
md
md
md
md
m.o
md
md
m.o
md
m.o
m.o
md
m.o
md
md
m.o
md
m.o
md
md
md
m.o
m.o
m.o

m._-._Q_._ Qu_.__

mo~::=a

w~
w~
w~
w~
m~
wm
m~
w~
w~
w~
mm
w~
m~
w~
»~
wm
w~
w~
w~
w~
m~
mm
w~
w~
w~
w~
w~
w~
»~
m~
wm
mmu:c__>_ t_
OE_._.U>TD
uch
6==0¢_~.62

¢m.wm
¢m.wm
¢w.wm
¢m.mm
¢m.mw
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
6~.23
=~.23
Q~.23
6~.23
6~.23
6~.23
6~.23
c~.23
6~.23
6~.23
Q~.23
6~.23
3""@-¢
x“u==¢

¢3;63
¢3163
¢3;63
¢363
¢363
3¢363
3¢163
3¢163
3¢=63
m¢=63
m¢‘om
3¢163
3¢;63
m¢.om
m¢.om
m¢.om
m¢»63
m¢.om
m¢.om
m¢]om
m¢.63
m¢.63
m¢.63
33.63
m¢.63
m¢.63
33.63
m¢.63
m¢.63
m¢.o»
m¢.63

0=5_

mm
md
md
md
md
md
md
md
md
md
md
md
m._"
m._u
m._“
md
md
md
m._"
m._“
md
md
md
md
m._n
md
me
m.m
mm
md
md

mm_=>_

._oa u¢m¢ n_._._. uc:o¢

32\32\~
@H\md\~
QH\Q\~
@H\m\~
@H\~\~
wd\om\d
md\m~\d
32\3\2
32\3\2
32\~\2
md\m~\~d
32\@~\~2
32\¢2\~2
32\32\~2
md`~d\-
md\m\-
32\3\~2
32\2\~2
md\w~\-
32\¢~\22
32\2~\22
32\22\22
m~\¢d\~d
32\62\22
32\2\22
32\3\22
32\23\62
32\2~\62
m~\¢~\62
32\6~\62
33\3\62
>ucoS_
untonmcm._._.
um>o_nEm mann

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 15 of 55

m_u_m

333

mm.m23
mm.m~m
mm.m23
mm.m23
mm.m~m
m3323
33323
mqmdm
mwm~w
mmem
33323
m3m23

:o_umm.._onEou wum>>x uE_-_.

>mn hon

.H.h.`h`.mm

32.33
32.33
32.33
32.33
32.33
32.33
32.33
32.33
32.33
mH.mm
32.33
32.33

MH

v5 u_.=.oE< _m~oh n.._.~. t.._:ox

33623
33623
30623
33623
33623
33623
33623
33623
33623
33623
33623
33623

umm>> v..=..o_._ 35

wm

md
m.o
m.o
m.o
m:o
md
md
m.o
md
md
m.o
m.o

mua:_._=>_

econ

wm
w~
w~
mm
wm
m~
w~
w~
w~
w~
m~
m~
mUu-.=__=>_ ____
UEPPU>~._D
ncp
B=BQ¢ _mu°._.

.uN.hmmm

¢3.33
¢m.mm
¢m.wm
¢m.wm
¢m.wm
¢m.w3
¢m.wm
¢w.wm
¢m.wm
¢m.wm
¢m.m3
¢3.33
W"UHN¢
xmo==¢

¢3.63
¢363
¢363
¢363
¢363
¢363
¢363
¢363
¢363
¢363
¢363
¢363

u_:>_

meH

md
md
m._~
m._n
md
md
md
on
md
mm
on
md

mu_=>_

hon sums n.._._. vc_..oz

md\m~\m
@H\@~\m
32\-\3
@2\32\m
w~\m~\m
md\-\m
w~\w\m

md\m\m

32\2\3

32\2~\~
md\m~\~

32\6~\~
>u_._o$_

totonmcm..._.
uo>o_nEm mann

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 16 of 55

EXhibit B

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 17 of 55

BOISE COUNTY
PROSECUT|NG ATTORNEY’S OFFlCE

 

February 28, 2018

Wil|iam Rekow
5 Red Fox
Lowman, lD 83637

Dear Mr. Rekow:

|'m the Boise County Prosecutor, and |'m Writing to you on behalf of the Board of Boise County
Commissioners (“Boar ”) regarding your compensation for past service to the County.

The County has discovered that you were not being compensated for transporting money
between work and your personal residence from March 2014 to March 2016. The County has
also discovered that you were not paid mileage for driving your personal vehicle for this
transportation.

Upon review of the records contained in the attached Exhibits A and B, the County has
determined that you performed 90 hours of work while your hourly wage was $12.71, 159.75
hours of work while your hourly was wage was $13.11, and 39 hours of work while your hourly
wage was $13.38. As such, the back wages owed to you total the amount of $3,760.04.
Furthermore, the mileage owed to you for driving during that period of time should come out
to 55,190.34.

As a resu|t, the County intends to pay you the amount of $3,760.04 for owed back wages, less
the applicable deductions and withholdings. |n addition, in accordance with the provisions of
the Fair Labor Standards Act, the County intends to pay you an additional amount equal to
those back wages, or in other words, another $3,750.04. The County will also pay you $5,190.84
as mileage reimbursement Based on this, the County believes it would be paying you all
compensation owed for this uncompensated time. in making this calculation, the County
believes it has not diminished or compromised in any way the compensation owed to you.

The Fair Labor Standards Act requires the Federa| District Court in Boise to approve this
payment. The County has hired outside counse|, Daniel Giynn of the firm Jones, G|edhl|l,
Fuhrman, and Gour|ey P.A., to handle the Court portion for us. As such, you will be soon
receiving some court paperwork from Mr. G|ynn’s firm listing you as a defendant in a civil case
in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

406 Montgomery Street, P.O. Box lBE, idaho City, |D 83631
Ph: 208~392-4485 | Fax: 208-392-3760

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 18 of 55

The Board appreciates your service to the residents of Boise County. |f you have any questions,
or if upon your review of Exhiblts A and B you believe that the dollar amount provided to you
incorrect, please notih¢ me by SQm on March 16l 2018.

Best,

T;a’r@i_,

Dan B|ocksom

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 19 of 55

:a__

oo.mm_..v n
vm.omm a
_.Q._.mm.w m

om.m~.w. w w

dE.E.

__En._.
mm.m_. m

mm.~.m w

mm.mm w

._I=u`l

mm.N s
Nv.m a

mr.m w

E.=m

Nm.mm 9
NN.Q®_. w

_.m.hm w

=ul`o¢

vo.owh.n
Nm. va
Nm.vmo.w

cm.mvv.w

_w_=._ d¢._.e._.

< ._._m_=._Xw >>Ov_mm_

696§$

._E.P_.
mn.m_. w
_._‘.mF w

_L..N_. w

m._.=m

E..$~
mm
ms.m£
am seam ___m
§§ E_em a==eu cause
w__=e= ulqz
==_euuu =E_E__

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 20 of 55

m“n__

363 363 §.~$ md mm oo.h~m m¢.om am vQHN\m
363 363 §.Ndm m.H mm oo.~.~m me.om am eqme
363 363 E.~Hm ma ~m oo.-m m¢.om am ¢Q:\m
363 363 ._~.h.~."m 64 mm oo.h~m m¢.om am S"\NHB
363 366 E.~R 64 ~m 326 366 3 E\Qm
363 363 §.NH.," md mm oo.h~m m¢.om am ¢Qm\m
363 363 §.~Hm md mm oo.h~m me.om am §§ m\m
363 363 §.~Hm 64 wm co.v~m me.om am S<m~\m
536 526 .§.~3 ....H ~m 336 366 3 E?~\m
363 363 :.NHm md ~6 oo.-w 536 06 ¢Q-\m
365 363 :.NHM md mm 363 me.cm am E\.`.H\m
36¢6 363 :..~Hm md mm oo.~.~m m¢.cm am ¢de\m
363 363 :..~Hm md mm co.h~,._., m¢.am am ¢H`md\m
363 363 :.~Hm md mm Qo.~.~m m¢dm am ¢H\od\m
363 363 :.~Hm m.d mm co.n~m m¢.om am ¢Q...._\m
363 363 :.NHm ma wm 363 m¢.om am ¢Qm\m
365 363 §.~._6 64 wm eqth m¢.om am E<m~\¢
363 363 _K.~Hm md mm oo.h~m m¢.om am ¢H\m~\¢
536 363 E.~$ 3 ~m S.~.~m 366 8 E\-\¢
363 363 §.~Hm md mm 363 m¢.om am §\6~\¢
363 363 :.~Hm md mm oo.-m m¢.cm am :\md\¢
363 363 :.~Hm m.H mm oo.h~m m¢.om am ¢Q~H\v
863 863 326 ma ~m Qo.-m 366 3 EB?
363 363 E..~.Hm md mm oo.~.~m me.om am 3\6\¢
365 363 :.~Hm md mm oo.h~m m¢.om am ¢H\.E.
363r 363 :.~Hm md mm oo.h~m m¢.om am ¢H\mw\m
363 363 §.~Hm md mm oo.h~m m¢.om cm ¢Qm~\m
36¢6 363 E..~Hm md ~m oo.h~m m¢.om am ¢Q-\m
363 363 E.~Hm m.w. ~m oo.`.~m m¢.om am E<w.n\m
m.“.-m mm.mm Hh.~_l.w mpd ne am.-m m¢.om wm E\m\m
>mn_ ._on_ nn 325 m..:o_._ 35 mou....._:>_ :_ m u viz o=_>_ mo=_>_ >u_..o_z
=o_~mm:onEou uum>> x oE.._. .».u~_._:.$_ uE_._. o>_._n xmm_=>_ con a_..._. cotonmcm..._.
5 n_..._. u::o¢ u_._._. _u:=o¢ comm u.._:om oc>o_aEm
E=oE< _Bo._. _Bo._. upon

m .Em_=._Xm >>Ov_mm

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 21 of 55

__:EN

863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
2666
863
863
863
863
863
863
863
863
>mn ._on_
:o_uR:ooEou

5
u_.=.¢OEq _N~.O._.

863
863
863
863
863
863
863
863
863
863
863
863
863
863
863r
863
863
863
863
863
863
6666
863
863
863
863
863
863
863
863
m"
umm>> x uE:.
n_.:. tenor

263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263
263

mum>> 6._:2._ 35
mu~:c__>_

m..n
m..n
m..n
md
m.H
m.d
m.d
md
m..n
md
m..n
m.._"
m..n
m.n
m.H
m.._"
m..n
md
md
md
m..n
m~..o
m..n
m.._"
md
m..n
m..n
m.H
m.._"
md

3

mm

mm

mm

mm

wm

mm

mm

mm

mm

mm

wm

mm

mm

mm

wm

mm

wm

mm

mm

wm

96

mm

mm

mm

mm

mm

mm

wm

wm

63:::>_ :_

u_.£._. ustc

n~._._. _"E:oz
_Bo._.

8666
8666
863
863
8666
8666
863
863
863
8666
863
863
863r
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
W" UHN¢
x.,.a=s_

866 8 328
686 8 368
686 8 338
686 8 688
686 8 3\66\6
686 8 3\3\6
686 8 686
663 8 3\6\6
686 8 368
686 8 338
866 8 338
686 8 3\66\6
686 8 36266
686 8 388
686 8 388
686 8 338
686 8 356
668 8 363
686 8 3d 66
686 8 3\66\6
686 8 3\3\6.
686 66 688
686 8 3\66\6
686 8 365
686 8 365
686 8 338
686 8 336
686 8 362
686 8 3666\6
686 8 388
o_:>_ 60=_>_ >oco_>_
con nt._. vutonv.cm._._.
owns t..:..ox mo>o_nEm
mann

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 22 of 55

mtum

863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
650 ..o._
:o$mm:unEou

8
~::oE< _m~o._.

863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863

WH

wang x oE:.

nm._._. v::o¢

363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
263

oum>> 6.50_._ o~:_
62:_._=>_

m..m
md
m..n
m.m
m.._¢.
m..n
m..m
m.._\.
md
m.m
m..n
m..n
m.m
m..m
m:_"
m.H
m.H
m.H
m..n
m.._"
md
m:n
m..n
m..n
m.."
md
m..n
m..n
m..n
m.H

mm

mm

mm

wm

wm

mm

mm

wm

mm

mm

wm

wm

mm

mm

wm

mm

mm

mm

mm

Nm

mm

mm

~m

mm

mm

wm

mm

~m

mm

mm

63355_ ____

oE_._.o>_._n

6:._._. t_..:o¢
_Bo._.

863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
863
WHUHN¢
x»m__s_

686 8 383
686 8 6686\6
686 8 383
686 8 66\63
686 8 3\8\3
686 8 3\66\3
686 8 3\66\3
686 8 386\3
686 8 3\66\3
686 8 3\66\3
686 8 333
686 8 3\6\66
686 8 353
686 8 3\66\3
686 8 3\66\3
686 8 3\-\3
686 8 38<3
686 8 3\6<3
686 8 38\3
686 8 353
866 8 333
686 8 38686
686 8 3\66\3
686 8 3\2\3
686 8 38686
686 8 3\3\3
686 8 3386
686 8 353
686 8 338
686 8 388
u=_>_ 60=_>_ >o:o_>_
._on _..__.:. uato&:E.~
munz _u..=..o~_ uo>o_n_Eu
28

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 23 of 55

anew

333 333 3333 33 3 333 333 3 33333
333 333 3333 33 3 333 3333 3 33333
333 333 3333 33 3 333 333 3 33333
333 333 333 33 3 333 333 3 3333
333 333 3333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 33333
333 333 333 33 3 333 3333 3 33333
333 333 3333 33 3 333 333 3 333~3
333 333 3333 33 3 333 333 3 33\3~3
333 333 333 33 3 333 333 33 33333
333 333 333 33 3 333 3333 3 33333
333 333 333 33 3 333 3333 3 33333
333 333 333 33 3 333 333 33 33333
333 333 3333 33 3 333 333 3 33333
333 333 333 33 3 333 333 33 3333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 3333 3 333~3~3
333 333 333 33 3 333 3333 3 333~3
333 333 333 33 3 333 333 3 33\3~3
333 333 3333 33 3 333 333 3 33333
333 333 333 33 3 333 333 3 33333
333 333 3333 33 3 333 333 3 33333
333 333 333 33 3 333 333 3 3333
333 333 3333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 333 33
333 333 3333 33 3 333 333 3 333~3
333 333 333 33 3 333 333 3 333~3
333 333 3333 33 3 333 333 3 333~3
333 333 3333 33 3 333 333 3 33333
>ma ._u._ mn umm>> 3._:0_._ 35 33=:__>_ ___ wu 333 o=_>_ 30_:>_ >o:os_
co_»mmcmn:..ou mum>> x mEE. 33_..:=_2 uE_._. u>m..n x3u_=2 hon nt._. tutonm._m._._.
5 a=._. _:..:o¢ nt._. v=_._o¢ munz _:_:o¢ uu>o_nEm

E_EE< _B£. _EB 33

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 24 of 55

m._om

~m.m¢m `.m.m.nm HH.mHm m.n mm co..`¢~m m¢.cm am m.n\m._<w

333 333 333 33 3 333 3333 3 33333
333 333 333 33 3 333 3333 3 333 33
333 333 333 33 3 333 3333 3 3333
333 333 333 33 3 333 3333 3 3333
333 333 333 33 3 333 333 3 333~3
333 333 333 33 3 333 3333 3 333~3
333 333 333 33 3 333 3333 3 333~\3
333 333 333 33 3 333 333 3 3333\3
333 333 3333 33 3 333 3333 3 33333
333 333 333 33 3 333 333 3 33333
333 333 333 33 3 333 3333 3 33333
333 333 3333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 3333 3 33\33
333 333 333 33 3 333 3333 3 333~3
333 333 3333 33 3 333 333 3 33\3~3
3333 3333 3333 333 3 333 333 33 333~3
333 333 333 33 3 333 333 3 333~3
333 333 333 33 3 333 333 3 333~3
333 333 333 33 3 333 333 3 33333
333 333 3333 33 3 333 3333 3 33333
333 333 3333 33 3 333 333 3 33333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 333 3 3333
333 333 333 33 3 333 313 3 333~3
333 333 333 33 3 333 333 3 333~3
333 333 333 33 3 333 333 3 333~3
>mn ._om mo uum..S 3.__,_0_._ 35 33..:._:>_ ____ nn nunn u=_>_ 30_:>_ >ocoS_
:o.§.._..mnEou wong x vE:. 33=£_>_ mE=. o..,_._a x3o=5_ hug ar._. vote&:m..._.
5 3__._._. t.._:om n_..._. v..=..o~_ comm 1551 uu>o_nEm

»_._:oE< _m~o._. _m~o._. nunn

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 25 of 55

whom

333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
3333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
>mn hon
:o_~mm:onEou

8
~::E:< _Bo._.

333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
mn
mum>>x uE_._.
am._._. _“E:om

3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333
3333

omm>> 3._:0_._ 35
303:£_>_

mh.o
msd
m\..o
m\..o
mh.o
m\..o
m..n
mh.o
mh.o
mm.o
m..n
m..n
m..n
m..n
m..n
m~..o
m.._"
md
m..n
m.H
m..n
m..n
m..n
m.H
m.H
m..n
md
m..n
m.H
m..n

mm
33...£_>_ c_
uE=, w>m._n
&._._. essex
_Bo._.

333
3333
3333
333
333
333
833
333
333
333
833
833
333
833
833
333
833
333
833
833
833
333
833
333
833
333
833
333
333
333
m" UHN¢
x$=s_

333 33 33\3\33
3333 33 333333
333 33 333~33
333 33 333~33
333 33 333333
333 33 333333
333 33 333333
3333 33 33333
3333 33 33333
3333 33 33\333
3333 33 33333
3333 33 333~3
333 33 333~3
3333 33 33333
3333 33 33333
333 33 33333
313 33 3333
3333 33 3333
3333 33 333~3
333 33 333~3
333 33 33333
333 33 33333
3333 33 33333
3333 33 33333
3333 33 3333
333 33 3333
333 33 3333
3333 33 3333>~l
3333 33 333~3
333 33 333~3
u_=>_ 30=5_ >0:0_2
._03_ 3:._._. zotoa...cm._._.
oumm _u::om mo>o_oEm
33

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 26 of 55

m_n_s

333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
533
333
333
333
333
333
333
>mn_ ..u._

_._o_umm:unEou onm>> X oE_.s
8 ,_E _2=.£_

»::oE< _m~o.s

363
eqon
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363
363

333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333

mum>> 3._:2._ o~c_
mm~_.._..=>_

msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
msd
m..n

msd
msd
msd
msd
msd
msd

de

cv

de

de

dc

de

o¢

de

ac

ac

dc

ou

de

cv

ce

de

du

ce

ou

de

cv

cv

dc

wm

du

93

93

d¢

cv

cv

325£5_ :_

oE_._. u>_._n_

B._._. uczom
_30._.

333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
333
W" Uuh.¢
332

33 3 3333
363 3 3333
363 3 3\3\3
33 3 3\3\3
363 3 333
33 3 353
363 3 333
363 3 33 33
363 3 333
363 3 333
363 3 333
363 3 3\33
363 3 333
363 3 333
363 3 333
363 3 3\3\3
363 3 3\3\3
363 3 3\6~\3
363 3 3\3\3
363 3 3\3\3
363 3 3\3\3
33 3 333
363 3 3\3\3
363 3 333\3
363 3 3\3\3
363 3 3\3\3
363 3 3\3\3
363 3 3`3\3
363 3 353
363 3 3333
o___>_ mm_:z >o:os_
._un a_.:. cutonmcm._._.
comm _u:_..o~._ mu>o_n_Em
33

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 27 of 55

minn

unqo.,m.m._wm eqmo.mh.mm . .....~..mm~ omm: .e.n._oma.mw oee-
md.m~m eqon wm.m~m mqo ce ~H.mdm em.om wm 32 m\m
md.m~m eqon mm.m~m mh.o oe ~H.mHm em.om mm md\~.~\m
md.m~m eqon wm.mdm mw.c ce ~H.mdm em.om w~ mqem\m
mqm~m eqon mm.mdm msd ce N.qm._"m em.om mm w._<o~\m
wd.m~m eqon mm.mdm msd oe ~H.mHm em.om mm mH\:\m
mH.m~m eqon wm.m~m mdc oe ~H.mHm em.om mm mm\m~\m
mH.m~m eqch wm.mdm mha ce ~H.mHm em.om wm QOQm
mH.m~w eqon wm.mnm mdc ce ~H.mdm em.om mm mn\m\m
353 eqon wm.m$ mg 3 ~H.m$ §§ 3 QQQM
mdme eqon mm.mHm mha ne ~H.mHm em.om mm mn\m~\~

>mn ._mm mn umm>> m._:o_._ 35 mo§::>_ :_ wu owns u=_>_ mm_:>_ >m:o_>_
:o_§cmnEou mum>> x uE_._. mau_._:_$_ uE:. u>_._n x...u=_>_ ._un n_._._. _.uto.w=m._._.

mo B~a._. _ur=._on_ n:._._. U_.=._OE Uum¢ n:.=.=u¢ UU>Q_EEM

E=oE< _BE. _BE 23

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 28 of 55

EXhibit C

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 29 of 55

BO|SE COUNTY
PROSECUT|NG ATTORNEY'S OFFICE

 

February 28, 2018

Paul Rekow
60 Maranatha Ln
Lowman, |D 83637

Dear Mr. Rekow:

|'m the Boise County Prosecutor, and |'m writing to you on behalf of the Board of Boise County
Commissioners (“Board") regarding your compensation for past service to the County.

The County has discovered that you were not being compensated for transporting money
between work and your personal residence from March 2014 to March 2016. The County has
also discovered that you were not paid mileage for driving your personal vehicle for this
transportation.

Upon review of the records contained in the attached Exhibits A and B, the County has
determined that you performed 11.5 hours of work while your hourly wage was $16.13, 24.25
hours of work while your hourly was wage was $16.53, and 13.5 hours of work while your
hourly wage was $16.86. The County believes that you were entitled to compensation for these
hours at an overtime rate. As such, the back wages owed to you total the amount of $1,220.94.
Furthermorel the mileage owed to you for driving during that period of time should come out
to $673.47.

As a resultl the County intends to pay you the amount of $1,220.94 for owed back wages, less
the applicable deductions and withholdings. in addition, in accordance with the provisions of
the Fair Labor Standards Act, the County intends to pay you an additional amount equal to
those back wages, or in other words, another $1,220.94. The County will also pay you $673.47
as mileage reimbursement Based on this, the County believes it would be paying you all
compensation owed for this uncompensated time. ln making this calculation, the County
believes it has not diminished or compromised ln any way the compensation owed to you.

The Fair Labor Standards Act requires the Federal District Court in Boise to approve this
payment The County has hired outside counse|, Daniel G|ynn of the firm Jones, Gledhi||,
Fuhrman, and Gourley P.A., to handle the Court portion for us. As such, you will be soon
receiving some court paperwork from Mr. G|ynn's fIrm listing you as a defendant in a civil case
in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

406 Montgomery Street, P.O. Box 186, idaho Clty, lD 83631
Ph: 208-392-4485 | Fax: 208-392-3760

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 30 of 55

The Board appreciates your service to the residents of Boise County. |f you have any questions,
or if upon your review of Exhibits A and B you believe that the dollar amount provided to you
incorrect, please noti§¢ me by SQm on March 16l 2018.

Best,

“EM'ZM_.

Dan Blocksom

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 31 of 55

_._n_r

we.$e__.
E..@ §
~e..::.

mN. _.¢m

._E.E.

w
w

19

._E_E.
mo. _._. m
Ne.m_. w

mm.m w

keel

em.oNN_-. w ._¢.E._. mN.me
em._. w N_..m~ m mw.mm w Ne._.em w mN.mN 9 m.mr

_L..N m oc.me w mc.mm w mm.wom w cm.eN w mN.eN

mw._. w mw.§ w Qm._.m w e~.w~.m w anew w m.:. _sov_mm_:mn_
235_=_32=__33=:_

_Ea § _2=__ §§ E=_ §§ §§
_____32_==_=_$_

< ._._m=._Xm >>Ov_m_m

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 32 of 55

mLo___

mm.m~m eqme om.e~m m\..o oe mm.w.nm me.ow mm eH\H\NH

333 333 333 md 32 33 33 2 2\2\2
333 333 333 36 03 323 3.3 3 2>2\2
333 323 333 md 32 33 33 2 2`2\2
333 333 333 36 3 323 33 3 232
333 323 333 md 32 33 3.3 2 252
333 333 333 36 3 323 33 3 2\2\2
333 323 333 md 32 33 33 2 2\2\2
333 323 333 md 32 33 33 2 252
323 223 233 md 32 33 3.3 2 2233
323 223 233 md 32 33 33 2 253
3.~.3 223 233 md 32 33 33 2 2333
323 223 233 md 32 33 33 2 2\23
323 223 233 md 32 33 33 2 2322
323 223 233 md 32 33 33 2 2\2\~.
323 223 233 md m2 33 33 2 2\2\@
323 223 233 md 32 33 33 2 223
333 233 233 36 3 323 33 3 2\2\...
323 223 233 md 32 33 33 2 2\23
333 233 233 36 3 333 33 3 233
323 223 233 md 32 33 33 2 233
333 233 233 33 3 333 33 3 2233
323 233 233 33 32 33 33 2 2\2\3
333 233 233 33 3 323 33 3 253
323 223 233 md 32 33 33 2 233
333 233 233 33 3 323 33 3 233
323 233 233 md ...2 33 33 2 2\3\3.
333 233 233 33 3 323 33 3 2\2\3.
323 223 233 md 32 33 33 2 232
>mo ..o._ m n omm>; uum>> m.=.o_._ mo~...:=>_ _._. m n nunc m__S_ >m>> >o:o$_
comummcwn__:ou X mF:.-. ou:_ OE_._. O>_._D Xmm=_Z ama O_..O Botonm:m..._.
8 u_._=oE< _mu_u._. B_._._. _u_.=.:u¢ mwu_.=_:>_ >m_.<.» O:O Uumm Um>o_n_:._u

33

m ._._m=._Xm >>Ov_mm_

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 33 of 55

mann

323 6323 333 36 32 33 33 2 233
323 6323 333 36 32 33 33 2 2\2\~
323 6323 333 36 32 33 33 2 2\22
323 6323 333 36 32 33 363 2 2`3\3
323 323 333 36 32 33 363 2 2\2\3
323 6323 333 36 32 33 33 2 223
323 6323 333 36 32 33 33 2 2>2\3
333 323 333 36 63 323 33 3 233
323 6323 333 36 32 33 363 2 233
333 323 333 36 63 323 363 3 2\2\3
323 6323 333 36 32 33 33 2 2\2\3
333 323 333 _ 36 63 323 363 3 233
323 6323 333 36 32 33 363 2 233
333 323 333 36 63 323 33 3 2\3\3
323 6323 333 36 32 33 33 2 2\2`3
333 323 333 36 63 323 363 3 233
323 6323 333 36 32 33 3.63 2 233
333 323 333 36 63 323 33 3 2\3\~
323 6323 333 36 32 33 363 2 222
333 323 333 36 3 323 33 3 232
323 6323 333 36 32 33 363 2 232
333 323 333 36 63 323 33 3 2\32
323 6323 333 36 32 33 33 2 2\32
333 323 333 36 63 323 363 3 2\22
323 323 333 36 32 33 363 2 222
333 323 333 36 63 323 363 3 2`3\2
323 6323 333 36 32 33 33 2 2\3\2
333 323 333 36 3 323 33 3 2\2\2
323 6323 333 36 32 33 33 2 2\2\2
>.u.n 5a 3a oum>> mum>> m.=.o: 33=£_>_ ____ ma mix m_=z >m>> >o_._o_>_
:o_vmm:UnEoU X UE_\_. ou_.__ UEP_. U>fn_ X mu=_>_ ._un UcD butonm:m._._.
5 »::oE< _Bo._. n_._._. _E:o¢ 32===>_ >m>> ucc viz om>o_nEu

33

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 34 of 55

mtu_n

S..¢m¢€m _36-.3 m~.m¢ 23 §“E\._m» 33

h¢.~mm hm.wdm m~.m~m who o¢ om.mdm ¢m.om mm md\-\m
hm.mdm mw.NHm mN.mNm m.o m.- No.hm ¢m.om md m._"\c~\m
D..~mm hm.w$ mm.m~m who o¢ om.m~m ¢m.om mm md\~\m
B.mHm mm.~dm m~.m~m md m.- ~o.hm ¢m.om md md\m\m
`.¢.Nmm hm.mdm mm.m~m msd o¢ om.mnm ¢m.om mm mu\-\~
B.m$ mw.~dm m~.m~m md m.- ~o.~m ¢m.om md mH`H~\N
hc.~mm hm.wdm mm.m~m mh.o o¢ om.mnm ¢m.om mm wd\m\m
B.m$ mw.~$ m~.m~m md m.- ~o.`.m $..om md mQQN
D..Nmm hm.mdm mm.m~m mha ne om.mHm ¢m.om mm md\m~\d
B.m$ mm.~$ m~.m~m md m.- ~Q.B 33 2 355
h¢.~mm hm.mdm m~.m~m mha cv om.mHm ¢m.om mm wish
hm.mdm mm.~Hm m~.m~m m.o m.- ~o.hm ¢m.om md Q.QQQH
N~.omm hm.m$ mm.m~m mh.o o¢ mm.:m m¢.om mm md\_:<~d
owme mw.~$. m~.m$ ....Q m.- mm.mm 33 2 ...QMQNH
-.omm 363 m~.m~m who o¢ m~.:m mv.om mm md\om\:
owme mm.~dw m~.m~m md m.- mw.mm mv.om md mdm~\:
NN.omm hm.wdm m~.mmm mh.c co mN.HHm m¢.om mm md\mn\:~
om.wnm mm.~.nm mm.m~m md m.- mw.mm me.om md md\md\=
~N.omm .`.m.mHm m~.m~m mha E~ m~.:m m¢.om mm mQ~\HH
om.m~m mm.-m m~.m~m md m.- mw.mm m¢.om md mH\QT¢.
om.m$ mm.-m m~.m~m m.o m.- mm.mm m¢.om md mH\onH
om.mdm mw.~dm m~.mmm m.o m.- mw.mm m¢.om md md?\od
mw.mnm oe.-m om.e~m m.o m.- mm.mm mv.om m._u m._<cm\m
m~.m$ 3.~$.. S.¢~v. md m.- 343 33 2 mdm\m
m~.mdm E~.~Hm om.¢~m m.o m.- mw.mm m¢.om md md\m~\m
>mn ._w._ mo mum>> uum>> m.=._o: mw~:::>_ :_ mo came o_:>_ >m>> >o:o_>_

co_~mmcon&ou x mE_._. 35 oE_._. waco x mo=_>_ 5a m_..O nuto%cm._.p

3 »=:oE< _Bo.» nt._. o::om »3::=>_ >m>> 25 gmc um>o__"_Ew

mann

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 35 of 55

EXhibit D

Case 1:18-Cv-00152-BLW Document 1 Filed 04/04/18 Page 36 of 55

BOISE COUNTY
PROSECUT|NG ATTORNEY'S OFF|CE

 

February 28, 2018

Robert McDona|d
48 Osprey Dr.
Lowman, |D 83637

Dear Mr. |VchonaId:

l'm the Boise County Prosecutor, and |'m writing to you on behalf of the Board of Boise County
Commissioners (“Board”) regarding your compensation for past service to the County.

The County has discovered that you were not being compensated for transporting money
between work and your personal residence from June 2015 to October 2015. The County has
also discovered that you were not paid mileage for driving your personal vehicle for this
transportation.

Upon review of the records contained in the attached Exhibits A and B, the County has
determined that you performed 19.5 hours of work while your hourly wage was $9.27. As such,
the back wages owed to you total the amount of $180.77. Furtherrnore, the mileage owed to
you for driving during that period of time should come out to $327.60.

As a result, the County intends to pay you the amount of $180.77 for owed back wages, less the
applicable deductions and withholdings. |n addition, in accordance with the provisions of the
Fair Labor Standards Act, the County lntends to pay you an additional amount equal to those
back wages, or in other words, another $180.77. The County will also pay you $327.60 as
mileage reimbursement Based on this, the County believes it would be paying you all
compensation owed for this uncompensated time. in making this calculation, the County
believes it has not diminished or compromised in any way the compensation owed to you.

The Fair Labor Standards Act requires the Federal District Court in Boise to approve this
payment. The County has hired outside counse|, Daniel G|ynn of the firm Jones, G|edhili,
Fuhrman, and Gour|ey P.A., to handle the Court portion for us. As such, you will be soon
receiving some court paperwork from Mr. G|ynn's firm listing you as a defendant in a civil case
in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

406 Montgomery Street, F.O. Box 186, idaho City, lD 83631
Ph: 208-392-4485 l Fax: 208-392-3760

Case 1:18-Cv-00152-BLW Document 1 Filed 04/04/18 Page 37 of 55

The Board appreciates your service to the residents of Boise County. if you have any questions,
or if upon your review of Exhibits A and B you believe that the dollar amount provided to you
incorrect, please noti§¢ me by SQm on March 15l 2018.

Best,

T;a'c%t,

Dan Blocksom

Case 1:18-Cv-00152-BLW Document 1 Filed 04/04/18 Page 38 of 55

+___o_

mN. von
mN. _.QN

§E._

n ._¢.E.F

w

vm.m

w

__Iec`i

Fm.o w

hh.om _.
mm.m_. a .C..om _.
§§ _wnm._ ._E.E.

< ._._m=._Km D._<ZODOE

n ._¢.E._
w hm.m

w

m.mv
m.m_.

:m=e%_z eaan
2§__==» B_==_u uwm=n
miss

E=eucd =e._na__

Case 1:18-Cv-00152-BLW Document 1 Filed 04/04/18 Page 39 of 55

:o_.

~m.$m»

ewa~m
»wA~M
hea~m
ew.-m
»m.a~m
ewa~m
hea~m
ewa~m
~m.-m
ema~m
ema~m
ema~m
heme
hea~w
»w.-m
>w.-w
ema~m
»m.-m
em.-m
5me
»w.-m
~m.a~m
ema~m
~w.-m
ewa~m
ewa~u

>mn_ hon

bhdme

mm.mm
mm.mm
mm.mm
mm.@m
mm.¢m
mm.em
mm.mm
mm.mm
mm.em
mmdm
wasn
mm.mm
mm.mm
mm.em
mm.@m
mm.mm
mm.@m
mm.mm
mm.@m
mm.mw
mm.@m
mm.mm
mm.mm
mm.m»
mm.wm
mm.mm

WH

c£u$_._un_Eou oum>> x oE.._.
8 ~::oE< _muo._. at._. v...:om

-.mw
»~.mm
>~.mm
-.mm
»~.mm
-.mm
»~.mm
-.mm
-.mm
h~.mw
~Nmm
-.mm
~wa
-.mm
-.mm
-.mm
»~.mm
h~.mm
h~.mm
-.mm
-.mm
-.mm
-.mm
-.mm
-.mm
-.mm
oum>>

m.m._\.

mud
mh.o
mh.o
mud
mh.o
mh.o
mh.o
mh.o
mh.o
mh.o
mud
mn.o
mh.o
mh.o
m`..o
mud
mw.o
mh.o
mh.o
mh.o
mn.o
mh.o
mh.o
mh.o
mh.o
mh.o

E...o_._

32 mu~=:=>_

o¢o._"

ou
ou
o¢
cv
ou
cv
0¢
0¢
o¢
cv
cv
Q¢
o¢
o¢
nw
cv
cv
cv
o_~
cv
o¢
cv
o¢
Q¢
o¢
co

mu»_._::_a
_.._ oE.._.

u>_._n n_._._.
_..E:ox _Bo._.

m ._._m=._Xm n_._<ZOn-O_z

om..thm

em.~am
=e.~am
Qw.~Hm
emddm
QQNHW
Q@NHM
owAH»
QQAHW
omdam
om.~am
oe-“
QQ.~HW
o@.~am
em.-m
e@.~am
Q@.~Hm
Qm.~am
Qw.~aw
Q¢.~Hm
om.~dm
QQNHW
om.-m
e@.~am
endow
oed~m
cedam
W"U§
xao==¢

m¢.om
m¢.em
me.om
me.em
m¢.=m
me.=m
ma=em
madm
madm
mean
me.¢w
m¢.om
me.om
m¢.om
me.ow
m¢.om
m¢.om
me.em
ma.om
me.em
me.om
me.om
m¢.em
m¢.om
meom
maom
m=<¢
._m¢_ o»m~_

mN~.

mm
mm
mm
mm
mm
mm
wm
wm
wm
wm
mm
mm
wm
wm
mm
mm
mm
wm
wm
wm
wm
mm
mm
mm
mm
mm

m.e_:,.,_
&._._. n::o¢

md\aa\o~
md\-\m
md\e~\m
md\o~\m
ma\hd\m
md\md\m
md\@\m
ma\m\m
md\om\w
md\-\w
md\m~\m
md\o~\m
md\@d\m
mH\mH\m
md\m\w
md\m\m
ma\~\m
ma\om\~
md\m~\»
ma\m~\~
md\m~\h
ma\m~\h
md\-\~
ma\m\~
ma\m\~
ma\m~\m
>oco$_
outcomth
uu>o_nEm nunn

Case 1:18-Cv-00152-BLW Document 1 Filed 04/04/18 Page 40 of 55

EXhibit E

Case 1:18-Cv-00152-BLW Document 1 Filed 04/04/18 Page 41 of 55

BO|SE COUNTY
PROSECUT|NG ATTORNEY'S OFFlCE

 

February 28, 2018

Thomas Cerovski
27 Southfork Dr.
Lowman, |D 83637

Dear Mr. Cerovski:

|'m the Boise County Prosecutor, and |'m writing to you on behalf of the Board of Boise County
Commissioners (”Board") regarding your compensation for past service to the County.

The County has discovered that you were not being compensated for transporting money
between work and your personal residence from March 2014 to june 2015. The County has also
discovered that you were not paid mileage for driving your personal vehicle for this
transportation.

Upon review of the records contained in the attached Exhibits A and B, the County has
determined that you performed 14.25 hours of work while your hourly wage was $9.77, and
17.75 hours of work while your hourly was wage was $10.17. As such, the back wages owed to
you total the amount of $319.74. Furthermore, the mileage owed to you for driving during that
period of time should come out to $230.40.

As a result, the County intends to pay you the amount of $319.74 for owed back wages, less the
applicable deductions and withholdings. ln addition, in accordance with the provisions of the
Fair Labor Standards Act, the County intends to pay you an additional amount equal to those
back wages, or in other words, another $319.74. The County will also pay you $230.40 as
mileage reimbursement Based on this, the County believes it would be paying you all
compensation owed for this uncompensated time. |n making this calculation, the County
believes it has not diminished or compromised in any way the compensation owed to you.

The Fair Labor Standards Act requires the Federa| District Court in Boise to approve this
payment. The County has hired outside counse|, Daniel G|ynn of the firm iones, G|edhi||,
Fuhrmanl and Gour|ey P.A., to handle the Court portion for us. As such, you wii| be soon
receiving some court paperwork from Mr. G|ynn's firm listing you as a defendant in a civil case
in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

406 Montgomery Street, P.O. Box 186l idaho City, ID 83531
Ph: 208-392-4485 | Fax: 208-392-3760

Case 1:18-Cv-00152-BLW Document 1 Filed O4/O4/18 Page 42 of 55

The Board appreciates your service to the residents of Boise County. |f you have any questions,
or if upon your review of Exhibits A and B you believe that the dollar amount provided to You
incorrect, please notify me by ng on March 16l 2018.

Best,

farmer

Dan Blocksom

Case 1:18-Cv-00152-BLW Document 1 Filed O4/O4/18 Page 43 of 55

:o__

hm.mmn
hm.oo~..

oc.mm~.

._E.E.

w
w

w

._E_E.
mm.m w

34 w

._I=El

E..m:"

55 w §§ w ~m._§

36 w 32 w NN.@_.:
¢:_m §§ _w_=__ __E=

< ._._m=._Xm_ _¥m>Om_mU

» 52 mm

w w _..o _. w m~..~. _.
w Q..m w m~.§ m,_m>o_mo Eo._r
333 E_ew E_==_u sums
EE_ w==_=_ §
E_=_HE =e__»u._

Case 1:18-Cv-00152-BLW Document 1 Filed O4/O4/18 Page 44 of 55

mean

e~.en
e~.¢n
e~.en
amen
e~.en
¢~.¢n
e~.an
¢~.en
¢~.¢n
e~.en
¢~.¢n
e~.en
e~.en
¢N._.n
e~.¢n
¢~.en
¢~.¢n
¢~.en
¢~.¢n
¢~.en
¢~.¢n
e~.en
¢~.an
e~.en
e~.en
e~.en
¢~.¢n
¢~.¢n
¢~.en
¢~.¢n
e~.en
>aa
._oa_ cormm:onEou

ee.~n
¢¢.~n
ee.~n
§.~n
ee.~n
ee.~n
¢¢.~n
ee.~n
e¢.~n
ee.~n
¢¢.~n
ee.~n
¢e.~n
e¢.~n
¢e.~n
ee.~n
¢e.~n
ea.~n
¢¢.~n
ee.~n
ee.~n
ee.~n
¢a.~n
ee.~n
ee.~n
a¢.~n
¢¢.~n
¢¢.~n
ea.~n
ee.~n
¢e.~n

m n oum>>
x mEc.
3 u::oE< _m~oP n__._._. _u_._:ox

henn
dean
dean
henn
~hnn
~enn
hhmn
~nnn
henn
henn
~nnn
henn
henn
henn
~Nnn
~nnn
henn
ennn
~nnn
donn
henn
~enn
henn
hhnn
~enn
~nnn
henn
~nnn
~nnn
henn
henn

umm>>

mN.o md
mud md
m N.o md
mud md
mN.o md
m~.o md
mud md
mud md
mN.o md
mm.o md
mN.o md
mud md
mm.o md
mm.o md
mud md
mud on
m~.o md
mm.o md
mud mm
mm.o md
m~.o md
m~.o md
mm.o md
mm.o md
m~.o md
mm.o md
m~.o mm
mN.o md
mm.o md
mud md
mud mm
m.=._o_._ mo“:_._=>_
35 :_ mE_.P
nm~:.._:>_ m>_._n_ n__._._.
_o::o¢ _muo._.

m ._._m_=._Xm_ _v._m>O¢mU

on.nn
on.an
en.nn
Qn.nn
Qn.nn
Qn.an
Qn.nn
on.nn
on.nn
en.~n
on.nn
on.nn
en.~n
Qn.nn
Qn.nn
Qn.nn
on.nn
en.~n
Qn.nn
Qn.nn
on.nn
on.dn
on.nn
on.nn
Qn.nn
Qn.nn
=n.nn
=n.nn
en.nn
Qn.nn
Qn.an
nuoei

ne.on
ne.on
ne.on
nason
mason
nason
n¢.on
neon
ne.en
ne.on
nedn
ne.on
n¢.cn
ne.on
ne.on
ne.on
na.on
n¢.on
na.on
ne.on
ne.on
na.on
n¢.on
n¢.on
ne.on
n¢.on
ne.en
na.on
n¢.on
ne.on
n¢.on
m==¢

xv.m_:>_ ._ma aim

en\-\n
ed\nn\n
en\nn\w
en\~n\m
¢H\n\n
¢H`n\e
¢n\n\n
en`n~\n
en`n~\n
¢n\-\n
en\nn\n
en`nn\n
en\nn\n
an\n\n
E\e\n
¢H\H\n
¢n\-\e
¢H\¢~\¢
an\¢~\e
en\nn\¢
en\nn\e
en`¢n\e
en\n\e
an\n\¢
en\on\n
en\-\n
ea\m~\n
ea\o~\n
en\nn\n
ea\nn\n
$\~\m
no=_>_ n_._._. >oco$__
u::o¢ umtonn:m..._.
mo>o_aEm once

<I'<l'<l*<l'<|'<2"=l'¢¢¢¢¢¢¢¢¢¢¢¢W¢¢Wd'¢¢¢d'd'¢d'

Case 1:18-Cv-00152-BLW Document 1 Filed O4/O4/18 Page 45 of 55

m__uw

¢n.¢n
an.¢n
an.¢n
¢n.¢n
am.an
¢~.en
e~.¢n
¢~.en
e~.en
¢~.en
e~.¢n
¢~.¢n
¢~.en
¢~.¢n
e~.¢n
¢~.¢n
¢~.an
¢~.¢n
¢~.en
¢~.¢n
e~.¢n
¢~.¢n
e~.en
¢~.an
a~.en
a~.¢n
e~.an
e~.en
e~.¢n
e~.en
¢~.¢n
>an
cum :o.~mn:un_Eou

en.~n
en.~n
en.~n
en.~n
en.~n
¢¢.~n
e¢.~n
ee.~n
¢e.~n
ea.~n
e¢.~n
ea.~n
¢¢.~n
$.~n
ee.~n
¢e.~n
ea.~n
¢¢.~n
ee.~n
ee.~n
ee.~n
a¢.~n
ee.~n
aa.~n
ee.~n
ee.~n
a¢.~n
ee.~n
ea.~n
ae.~n
ee.~n

nw ll. UMNB
xaE¢
.._.o u¢=OEd _NHQ.F l...-._. _u-.=.'OE

~H.an
nn¢nn
haenn
hogan
~H.an
-.nn
-.nn
hh.nn
~h.nn
hnnn
nn.nn
-.nn
-.nn
~h.nn
hn.nn
hh.nn
~h.nn
en.nn
hn.nn
nh.nn
nn.nn
-.nn
n~.nn
eh.nn
n~.nn
nn.nn
~h.nn
hn.nn
nn.nn
h~.nn
»h.nn

oum>>

mN.Q md
mN.o md
mN.o md
mN.o m._"
mN.O md
mN.o md
mN.o m._"
mud m._"
mN.Q m._"
mN.o m._"
mN.o m._u
mN.o md
mud md
mud md
mN.o m.n
mm.o m._“
mud md
mN.o md
mN.o m._"
mN.o md
mN.o md
mN.Q mm
mN.Q mm
mN.Q mm
mN.Q wm
mN.o mm
mN.o mm
mud wm
mN.o mm
mm.o mm
mm.o md
m.:._o_._ mmu::__>_
Ou_.; c_ UEP_.

nu~:::>_ u>tn n_._._.
_.=._:o¢ _BE.

Qn.dn
Qn.dn
Qn.nn
Qn.an
Qn.an
on.nn
Qn.nn
Qn.nn
Qn.nn
on.nn
en.nn
on.nn
om.nn
on.nn
on.~n
Qn.nn
on.nn
on.nn
en.nn
Qn.~n
on.an
on.~n
en.an
en.an
on.an
on.nn
en.nn
on.nn
on.nn
on.~n
en.an
n""aa~¢

na.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.en
n¢.on
ne.en
ne.on
n¢.on
n¢.on
ne.on
ne.on
n¢.on
neon
ne.on
n¢.on
neon
na.on
n¢.on
n¢.on
n¢.on
ne.on
n¢.on
ne.on
ne.on
ne.on
n¢.on

m._._>_ nu___>_._.#
xna___>_ .2_ S~¢

§"d'<rq'¢'¢d"d'<l'¢<|"d'¢<l"=l'¢<l'¢<l'd'\=l'd'<l'<l’¢¢l'¢d'¢¢f

v

t::ox

¢n`nn\en
¢H\~n\on
en\n\on
ea\n\od
ea\~\en
en\n~\n
¢~`n~\n
en\n~\n
aa\n~\n
¢n\¢n\n
ea`a~\n
an\~\n
an\¢\n
an\nn\n
¢H\n~\n
en`e~\n
an`n~\n
¢H\~H\n
¢n\en\n
ea\en\n
en\~\n
en\n\n
en\nn\~
ed\-\~
¢H\e~\~
en`nn\h
en`on\~
en\n\h
E\Q»
en\n~\n
en\n~\@
>uco_>_
votonm_._m._._.
oo>o_nEm mann

Case 1:18-Cv-00152-BLW Document 1 Filed O4/O4/18 Page 46 of 55

mean

ee.en
en.en
en.en
en.en
en.en
en.en
ee.¢n
em.en
em.en
en.en
en.en
en.en
ee.en
en.en
en.en
ee.en
ee.en
en.en
en.en
em.en
even
ee.en
em.en
ee.en
ee.en
em.en
ee.en
em.en
en.en
em.en
en.en
>en
._o._ co_~$eo._:_ou

en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n

W" Ommg
X UF:._.
5 E.SE< _Bo._. ute E.=._o¢

D.een
E.een
S.een
B.een
S.enn
S.enn
R.een
henn
:.een
E.enn
S.enn
S.een
E.enn
D.enn
dean
B.een
D.een
D.een
Z.enn
E.een
E.enn
en.enn
tween
S.enn
D.enn
S.enn
E.enn
tween
E.een
D.een
S.een

oum>>

mud md
mN.o on
mN.o on
mN.o mm
mN.o md
mN.Q md
mN.o m._"
mN.o m._"
mN.o m._"
mN.o m._"
mN.o md
mud mm
mN.o wm
mN.o md
mN.o mm
mm.c mm
mN.o md
mN.o md
mud m._"
mud md
mN.c md
mN.o md
mN.o md
mN.Q md
mN.c md
mN.Q md
mud md
mN.o md
mN.o mm
mN.o md
mN.o md
m.=..o: mou...:=>_
our: E_ UEE¢

nun::ms._ m>_._n n.._._.
o_.=_o¢ _m~o._.

eaen
even
eeen
eaen
eeon
ee.nn
eeen
eean
eeAn
eean
eean
eean
eeen
eean
eean
eeen
eean
eean
eenn
eenn
eenn
eeAn
eean
eenn
eenn
em.nn
eeen
eenn
eenn
eenn
eeen
muBmz

xne=s_ be aim

ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en
ne.en

m.=_>_ mu=_>_ uE.

€'<l'<|'d'q'd‘d'¢<r'd"sr'=l'<|'¢¢<l'<|"=l'¢q'd'<f¢f¢¢q'¢¢¢<f

v

t::ox

nn\~e\~
ne\e\~
ne\n\~
nn\n\~
ne\e~\n
ne\n~\~
ne`-\n
ne\e~\~
ne\nn\n
ne\~e\e
ne\e\n
nn\e\n
ee\e~\~e
ee\-\~e
en\ee\~e
en\en\~e
ee\ee\~e
ee\e\~e
en\e\~e
en\en\en
en`n~\en
ee\e~\ee
ee\ee\nn
en\ne\HH
ee\e\en
ee\e\en
ee\~\en
ee\em\en
ee\e~\en
ee\n~\e~
ee\nn\en
>m_._o_>_
uotoance._._.
oo>o_nEm 33

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 47 of 55

m__..._..___

em.en
ee..en
em.en
em.en
ee..en
em.en
em.en
en.en
em.en
em.en
ee..en
em.en
ee..en
em.en
ee..en
em.en
en.en
ee..en
ee..en
em.en
em.en
em.en
en.en
em.en
em.en
em.en
ee..en
ee..en
em.en
en.en
em.en
>mn
._u._ comumn:un_Eou

en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n
en.~n

W.h UMN_.$
x men
mo uP-_._°E< _NHO._. n:h._. t_.=.-°E

U.Sn
5an
E.Sn
E.Sn
ndan
E.En
S.Sn
E.Sn
R.Sn
E.Sn
S.Sn
D.En
B.Sn
R.En
R.Sn
R.Bn
B.En
B.Sn
D.Bn
B.Bn
S.Sn
D.Sn
R.Sn
S.Bn
B.Sn
E.Sn
R.Sn
edan
R.Bn
B.Sn
B.Sn

mum>>

mN.Q mn
mN.c md
mN.c md
mN.Q md
mN.c md
mN.Q md
mud md
mN.o md
mN.o m.n
mN.o md
mN.o md
mN.Q md
mud md
mN.o mm
mN.o md
mN.o me
mN.Q md
mN.o mm
mN.o md
mN.o mm
mN.o ma
mm.o md
mud md
mm.o md
mN.o md
mud md
mud md
mN.o md
mN.o md
mN.o wm
mN.o md
n.=..o: muu...:=>_
35 ____ oEE.

nm».._c:>_ u>_._n n_._._.
vc:oz _m~o._.

swan
owen
S.Hn
owen
S.Hn
owen
owen
S.Hn
S.Hn
S.Hn
B.Hn
Qn.dn
owen
Qn.nn
oman
owen
owen
owen
owen
owen
owen
owen
oman
on.~n
B.Hn
swan
oman
owen
owen
S.Hn
S.Hn
mo o~m¢

xmu=S_ ._on nunc

ne.on
ne.on
ne.on
ne.on
ne.on
ne.en
ne.on
ne.on
ne.=n
ne.¢n
mean
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.¢n
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on

u=s_ 3___>_ §§

<?d'\=l'<l"=l'<l'<l'¢d'¢¢d'¢¢d'¢¢¢¢d’¢¢¢¢¢¢¢<rd'<|'

¢

o::om

nn\d~\n
nn`~\n
nn\e\n
nn\em\n
nd\n~\n
nd\e~\n
nn\-\n
nn\-\n
nn\en\n
nd\od\n
nQQn
nd\m\n
nn\om\e
nn\n~\e
nd\m~\e
nn\md\e
n~\ne\e
nH\~H\e
nQQe
nn\n\e
nQ~\e
nd\m~\m
ne\n~\n
ne\-\n
nn`n~\m
ne\n\m
ne\d\m
nn\n~\~
ne\-\~
ne\nd\~
mined
>o:o_>_
ooto&:m._._.
om>o_n_Em memo

Case 1:18-CV-00152-BLW Document 1 Filed 04/04/18 Page 48 of 55

m___um

en.onmn ."_.R.mnmn

em.en en.~n E.Sn

em.en en.~n .`.H.Sn

em.en en.~n .`.H.Sn

em.en en.~n S.Sn
>mn_ mo umm>> oum>>

hug ...o$mm_._un:._ou x ch.

8 u::oE< _Bo._. n_._._. u::oz

Nm

mN.Q
mN.o
mNd
mud

m.:._o_._

mm~:_._:>_

Nmo~

m_¢.
md
md
mm
no~s==>_
____ oEF
u>_._o a_._._.
_._E:om _Bo._.

oe.om~n

owen ne.on
owen ne.on
an.~n ne.on
owen ne.on

nn 2$_ u=s_ nu__s_ nE

xmm=$__ aaa nunc

mem

v
v
v

¢

t::o¢

ne\n~\n
383
323
nQeQ@
>u:o$_
uutonn:m._._.
mu>o__.._Em nunn

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 49 of 55

EXhibit F

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 50 of 55

BOISE COUNTY
PROSECUT|NG A'l'l'ORNEY'S OFF|CE

 

February 28, 2018

Ver|a Hames
1412 Teton Ave.
Caldwel|, |D 83605

Dear MS. Hame$f

|'m the Boise County Prosecutor, and |'m writing to you on behalf of the Board of Boise County
Commissioners (”Board") regarding your compensation for past service to the County.

The County has discovered that you were not being compensated for transporting money
between work and your personal residence from February 2014 to February 2015. The County
has also discovered that you were not paid mileage for driving your personal vehicle for this
transportation.

Upon review of the records contained in the attached Exhibits A and B, the County has
determined that you performed 120 hours of work while your hourly wage was $10.41, and 60
hours of work while your hourly was wage was $10.81. As such, the back wages owed to you
total the amount of $1,897.80. Furthermore, the mileage owed to you for driving during that
period of time should come out to $2,187.00.

As a result, the County intends to pay you the amount of $1,89?.80 for owed back wages, less
the applicable deductions and withholdings. ln addition, in accordance with the provisions of
the Fair Labor Standards Act, the County intends to pay you an additional amount equal to
those back wages, or in other words, another $1,897.80. The County will also pay you $2,187.00
as mileage reimbursement Based on this, the County believes it would be paying you all
compensation owed for this uncompensated time. |n making this calculationl the County
believes it has not diminished or compromised in any way the compensation owed to you.

The Fair Labor Standards Act requires the Federal District Court in Boise to approve this
payment. The County has hired outside counsel, Daniel G|ynn of the firm lones, Gledhil|,
Fuhrman, and Gour|ey P.A., to handle the Court portion for us. As such, you will be soon
receiving some court paperwork from Mr. Glynn's firm listing you as a defendant in a civil case
in federal district court to obtain this necessary approval for payment of the funds outlined to
you above. You can anticipate receiving this filing within the next week.

405 Montgomery Street, P.D. Box 186, idaho Clty, |D 83631
Ph: 208-392-4485 l Fax: 208-392-3760

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 51 of 55

The Board appreciates your service to the residents of Boise County. lf you have any questions,
or if upon your review of Exhibits A and B you believe that the dollar amount provided to you
incorrect, please notify me bv 5er on March 16l 2018.

Best,

‘T;M’Ze@!@,

Dan Blocksom

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 52 of 55

_.._u_.

Nm.w_. _..N w §

mo.NN\l w

mh.omm._. w

._E.E.

mm.cN w

mm.av m

om.hmm. _. 0 ._=_=.

Nm.N m Nm.mv m om.mvm w _.m.o _. w
Nm.m w mm.mm 9 om.mvw.v m _.v.o_. w
E.=w §§ _m=m._ .==E u.=E

< ._._m=._Xm_ mms_<_._

am

own

mmEm_._ mrm>
Emu~> ___-em B_=Ea canon
alex

E=ecuz =e.==r_

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 53 of 55

m..____u_.

~H.nen
~H.nen
S.nen
~H.nen
~H.nen
~H.nen
~H.nen
~H.nen
~H.nen
~H.nen
~H.nen
~H.nen
~H.nen
S.nen
~H.nen
~H.nen
~n.nen
~H.nen
~H.nen
~H.nen
~H.nen
~n.nen
~H.nen
S.nen
~H.nen
~H.nen
~H.nen
~H.nen
E.nen
S.nen
~H.nen

>ma ._m._

~n.a~n
~n.=~n
S.=~n
~n.a~n
~n.e~n
~n.e~n
~n.=~n
~n.=~n
~n.e~n
S.Q~n
~n.e~n
~n.=~n
S.=~n
S.Q~n
~n.e~n
~w.e~n
~n.e~n
~n.=~n
~n.e~n
~n.=~n
~n.=~n
~n.=~n
~nd~n
~n.=~n
~n.e~n
~n.=~n
3an
~n.e~n
S.=~n
~n.e~n
~n.e~n

V..N

...o_umn_._mn_.:ou uum>>x uE_._.
5 ._=aEe. _B£. ._E _E_a¢

He.Sn
He.Sn
He.Sn
He.oen
He.Sn
He.oen
ne.Sn
He.En
He.oen
He.oen
He.oen
He.Sn
He._:n
~e.Sn
He.Sn
He.Bn
~e.Sn
~e..:n
He.onn
He.Bn
He.Sn
He.Sn
ne.onn
~e.Sn
ne..:n
~e.Sn
~e..:n
He.Sn
He.Sn
~e..:n
He..:n
umm>>

own
QN._..
QN.H
oN.H
QNH
QNH
QNH
ONH
oN._"
oN.H
QNH
QN.H
QNH
QN.H
own
QNH
own
own
GNH
own
own
own
own
own
ON.H
own
QNH
own
own
QNH

own
n._:o_._ no~...:=.z

NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN

em.e~n
on.e~n
on.e~n
e.a..e~n
om.e~n
om.e~n
ee..e~n
om.e~n
om.e~n
em.e~n
em.e~n
en.e~n
em.e~n
Qe..e~n
=n.e~n
=n.e~n
an.e~n
Qn.e~n
Qm.e~n
em.e~n
Qn.e~n
Qn.e~n
Qm.e~n
Qn.e~n
om.e~n
om.e~n
on.e~n
om.e~n
on.e~n
om.e~n
om.e~n

ne.en
ne.en
ne.en
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.en
ne.on
ne.on
ne.on
ne.on
ne.=n
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.on
ne.en
ne.on
ne.on
m u_=>_ ._on munz

ou£muu:£$_ ..._ ch.u>_E n owns xnu_=>_

ace
_E:om _m~o._.

m ._._m__._Xm_ mms_<_._

wm
¢m
em
em
wm
em
¢m
wm
em
wm
.vm
wm
wm
em
wm
¢m
wm
em
em
wm
wm
wm
wm
wm
wm
wm
wm
wm
em
wm
¢m

eQQn

e~\e\n

ee\~m\n
ee\n~\n
ee\e~`n
ee\n~\n
en\he\n
en\ee`n
ee\ee\n
eHEn

ee\om\e
ee\n~\e
en\m~\e
en\nn\e
en\nn\e
en\-\e
en\n\e

en`n`e

en\~\e

en\n~\n
en\n~\m
en\-\m
en\nn`n
en\nn\m
en\~n\n
ed\n\m

en\n\m

en\n\n

en\n~\~
en\-\~
e~\n~\~

mu_:>_ >u:o_>_
B._._. _u.._:o¢ outcometh
mo>o_nEm

mean

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 54 of 55

whom

~m.nen
~e.men
~H.men
S.men
S.men
~H.men
~n.men
~e.men
~e.men
women
~H.men
~H.men
~n.men
-.men
~m.men
~H.men
~n.men
ww..m¢m
S.men
~H.men
~H.men
~H.nen
~H.men
S.men
S.men
S.men
S.men
~H.men
~H.men
~H.men
~H.men

>ma ._m._

~m.n~n
~m.e~n
~n.o~n
~n.o~n
~n.o~n
~n.o~n
~n.e~n
~n.o~n
~n.o~n
S.o~n
~m.e~n
~w.o~n
~n.e~n
~n.o~n
~e.o~n
~wd~n
~wd~n
~n.a~n
~m.o~n
~n.o~n
~n.o~n
~m.o~n
~n.o~m
S.o~n
~n.¢~n
~n.o~n
S.Q~n
S.Q~n
~n.e~n
S.Q~n
~n.a~n

M"

:o_»mncma.:ou oum>> x mE:.
5 ~¢=o:_< _Bo._. n_..._. _E:ox

swann
S.Sn
He.Sn
me..:n
He.Sn
eden
eden
He.Sn
me.oen
eden
He.Sn
He.oen
He.Sn
eden
He.Sn
He.=en
He.En
eden
He.Sn
He.Sn
eden
ne.een
He.een
me._:n
ne.=nn
He.enn
He.Sn
He.omn
He.omn
He.Sn
He.En
vum>>

ow._"
own
own
own
own
ow.n
own
own
own
own
own
ow._"
own
own
ow.n
own
own
own
own
own
own
ow.n
own
own
own
own
owH
ow.n
ow.n
ow.n

ow._"
m._:o_._ no~_.:._:>_

NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN

om.e~n
em.e~n
om.e~n
om.e~n
em.e~n
om.e~n
om.e~n
em.e~n
om.e~n
om.e~n
Qm.e~n
om.e~n
om.e~n
em.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
Qm.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n
om.e~n

me.on
me.en
me.en
me.on
me.en
me.en
me.on
me.on
me.on
me.en
me.on
me.on
me.=n
me.en
me.¢n
me.on
me.en
me.en
me.¢n
me.on
me.en
me.on
medn
me.en
me.en
me.en
me.cn
me.on
me.on
me.¢n
me.on
m 0=_2 hon munz

3._33===>_ =_ aE_.:s.E n ¢~§xae_.s_

__E
ease _Be.

wm
wm
em
dm
wm
wm
wm
wm
wm
em
wm
wm
em
wm
wm
em
em
¢m
wm
wm
cm
dm
wm
wm
wm
wm
wm
wm
wm
wm
wm

ed\e\a~
ee\n\=e
ee\e~\n
ee\e~\m
ee\a~\e
em\~m\m
ed\me\e
em\oe\m
em\n\m

en\h~\n
ee\m~\n
ed\nm\w
en\mn`e
em\n\n

em\m\m

en\~\n

en\om`e
en\n~\h
em\m~\»
ed\n~\~
en\mn\e
em\~m\h
ee\m\~

e~\m\»

ed\~\~

em\w~\m
ee\m~en
en\n~\m
ee\wm\@
en\en\m
ee\en\m

mu=_>_ >u_._o_>_
E._._. o_..:om unfounth
mm>o_m_Em

open

Case 1:18-CV-00152-BLW Document 1 Filed O4/O4/18 Page 55 of 55

moon

ow.¢wo€w

nn.men
nn.men
~n.men
nn.men
nn.nen
~n.men
nn.men
nn.men
~n.men
nn.nen
nn.nen
~n.men
~n.men
~n.nen
nn.nen
nn.men
~a.nen
~n.men
~n.men
~n.men
nn.men
nn.men
~n.men
nn.men
na.nen
~n.nen
~n.nen
~a.men

>mo ._om

om.hmo_nw

~a.nnn
~n.n~n
~n.n~n
~n.n~n
nn.n~n
~n.n~n
~n.n~n
~n.n~n
~n.n~n
~n.n~n
nn.n~n
~n.n~n
~n.n~n
~n.n~n
nn.n~n
~a.nnn
~n.n~n
~n.n~n
nn.n~n
nn.n~n
nn.n~n
~n.n~n
~n.n~n
nn.n~n
~n.n~n
~n.n~n
~n.n~n
~a.n~n

wu

com~mn:unEou mum>> x oE_._.
8 »:...oE< _Bo._. E._._. u::om

nnann
naann
naann
naann
nnann
naann
nnann
nnann
naann
naann
naann
nnann
naann
naann
naann
nnann
naann
naann
naann
naann
naann
naann
naann
nnann
nnann
nnann
naann
naann
uum>>

own oomon

own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
own
m._:o_._ mou:::>_

NNNNNNNNNNNNNNNNNNNNNNNNNNNN

aa.~.an..n.n

am.e~n
an.e~n
an.e~n
an.e~n
an.e~n
an.e~n
an.enn
am.e~n
an.e~n
am.e~n
am.e~n
an.e~n
an.e~n
an.e~n
ae..e~n
an.e~n
an.e~n
an.e~n
an.e~n
am.e~n
an.enn
an.e~n
an.e~n
an.enn
an.e~n
an.e~n
an.e~n
an.enn

mean
mean
nean
mean
mean
mean
mean
mean
nean
mean
mean
mean
mean
mean
mean
mean
mean
mean
mean
nean
nean
nean
nean
nean
nean
mean
nean
mean
m m_:>_ aaa gmc

35 nm~=c:>_ :_ oEFo>tn n mens xno_=>_

at._.
o::oz _m~o._.

anne
en mn\e\n
en nn\nn\n
em nn\a~\n
em nn\e~\n
em nn\n~`n
en nn\nn\n
en mn\en\n
em mn\an\n
em nnEn
em enr~\~n
em en\a~\~n
em enrn\~n
en en\nn\nn
em en\an\~n
en en\n\~n
en en\n~\nn
en en\n~\nn
em en\nn\nn
en en\n\nn
en en\n\nn
en en\n\nn
en en\n~\an
em en\n~\an
en en\-\an
en enhaan
en en\nn\an
em en\nn\an
em en\a\an
mu=_>_ >oco_>_
n:..._. _u_._:o¢ unfounth
uu>o_nEm

man

